       Case 1:17-cr-00232-EGS Document 306-7 Filed 10/26/20 Page 1 of 7




                        Transcription of Notes of SSA
                                      Dated 1/24/2017
                                   Document ECF 198-13

1430

[REDACTED]

                                                       4 subjects
                                             2 calls   (1) TRUMP-PUTIN call set-up
                                                       (2) Exchange HOLIDAY GREETINGS
                                                       (3) Offering condolences for lives lost
                                                                                            Russian
                                                                                        plane crash
                                                       (4) SYRIA conference on ISIS


DIA 1st invited [U/I] GRU. Leadership OPD. All approved. 4day trip. Summer 2013
Kislyak – I don’t know if I met him then.Very appreciative visit. Sergey – GRU. UTC – in uniform.
Set-up
Big visit him to come to US. 28th Feb, 2014. Went to Crimea. Ø more to that.
Next time. Trip to Russia. Some EU press unbelievable. Never paid by media.
Did RT. Al Jazeera, [U/I]. Speakers Bureau LAI. Request to speak
In Moscow @ ME. At RT 10th anniversary. I was paid for that. Speaker’s Bureau PAID
Me. They took 25%. I may have. Sergey heart attack in Lebanon. He was like me.
Similar background. Sons. Heard [U/I] – Send condolences. Really wasn’t part of
[U/I]. Really thought Sergey was okay we could work with. Connection FIGHT
TERRORISM. Chechnya Combat scares. Talked @ Afghanistan. Turkish Ambassador Killed
20 Jan – up to probably spoken to 30 countries. Multiple people in countries.
[Margin 4+1 China [U/I] Russia Iran ISIS]
Only Russia Kislyak. Direction.
Common partner in these [U/I]. Ø know Trump/POTUS for [U/I] out
POTUS work with Russia. Russia Amb. Turk. Sorry. Common Problem. That was it.
Before Christmas. Mid December. Called next day. He said his family love. Christmas
Day – place crash. Russian USO. Choir sang @ my dinner. Took opportunity
to pass condolences. Trying to keep relationship. CJS – next conversation.
       Case 1:17-cr-00232-EGS Document 306-7 Filed 10/26/20 Page 2 of 7




No affinity Russia – Kislyak counterpart. Vacay Dom Republic
28th Dec. a Tuesday – he sends me a text. Can you call me? I didn’t see it.
24 hours later. Call you 15-20 mins. 1 hour ahead Dom Republic.
[U/I] me. Set-up VTC Putin/Trump – 21st. Have him qued into
Conference in Astand, Kazaky, Russia, Turkey, Iran, Opposition groups
Sent US Emb person. Ø get back to him. Probably only this past week.
Make decision for representation – FRI/SAT. Observer.
Russia wants to lead race for mid east peace. US. Turkey under wing.
Lack of engagement. Email – meet in person. Met in NY post election.
Closed door meeting Jared Kushner.
Been to Rus Amb.- before I went to speak at Speaker Bureau
Did briefing prior. Intel courtesy to see AMBO. 30-45 minutes. Son with me.
Late middle of day. AMBos Res. University Club. NY meet in Nov.
Maybe before Thanksgiving. He was in NY. Relatively sensitive meeting JK
Sensitive – Countries Ø want White House to know. No personal WH relationship. Trump Tower
Set expectations – set high for countries
UN vote – Settlements – yes good reminder. Yeah so 22nd December. Litany countries.
Get sense wherestood on that vote. UK. Senegal. Egypt. Israel. Maybe France. Maybe Kislyak
Get a sense abstain, VETO, This very
More where they stand. I Ø believe we would change anything. There
Needed to be so many to abstain. 14 countries permanent course | 5+9
Only US abstain. U.S.      Wasn’t hey if you do this it will be that.
Senegal came up – how much             kind of thing, hey where do you
Ø please consider voting this way? you stand.
No. Where do you stand? What’s position
Egypt. Ø like it. Other channels. Delayed on own accord.
Drill Exercise – how fast can you get someone on the line – battle drill.
NK – how to we act? How respond?
Mar Lago – Friday or Thursday. Right before Christmas. Boxed us in.
       Case 1:17-cr-00232-EGS Document 306-7 Filed 10/26/20 Page 3 of 7




Transition Ø good. Policy
Kislyak – Repp? 29th spoke. I don’t The conversation was on
VTC, Astana thing, I had no TVu, my govt Blackberry
Ø recollection? Not really..I don’t remember. Hey don’t do anything.
Total surprise. I didn’t know about it until media.
Cyber briefing – decision. What
Kislyak – start off on good foot. Looking forward to relationship.
        I wouldn’t understand it. I can understand PU5 of one
Start good relationship. Move forward.
I Ø remember making 4-5 calls if I did lousy place to call.
Ø long drawn out about don’t do something.
EZRA
1 person here. Approached Hope Hicks – someone introduced.
Close to Trump.
Hope Hicks. John [U/I]. Dan Scautno
Leak OIGOID classified [U/I] Electronic [U/I]
Real world examples. Here is what is in play. [U/I]
Maybe we take [U/I]
       Case 1:17-cr-00232-EGS Document 306-7 Filed 10/26/20 Page 4 of 7




                         Transcription of Notes of DAD Peter Strzok
                                      Dated 1/24/2017
                                   Document ECF 198-13

Contact w/ GOR Trump campaign thru inaug
Walk thru GOR contact
Who, purpose, form
       In person?
       Email?
       Phone?
Calls: Approx how many? Logs

[REDACTED]

1ST to be invited GRU HO OPD Summer’13 4 day trip
        Kislylak knew not sure if there
        Surgey GRU head VTC
28 Feb 14 visit to US but then Crimea
                              Cancelled

Next trip to Russia
        Doing media stuff but not paid
        RT couple times + Al Jazeera Sergey + many allies
LAI Speaker’s Bureau : spoke in Moscow re ME
        RT 10th [U/I]
        1-1 panel discussion       LAT set up + paid him
                              Contracted + [U/I] fee ~75%
Heard Sergey had heart attack @ Lebanon
       Case 1:17-cr-00232-EGS Document 306-7 Filed 10/26/20 Page 5 of 7




[U/I] Lebanon + called Kislyak to send condolences
       Around death
       Not part of Sergey = felt we US could work w/ him
       Common fighting terr scars Chechnya + AF
Next time Turk AMBO killed post-election
Up to 20 Jan spoke easily 30 different countries
       + multiple people w/in countries
Kislyak only person in Russia
       4+1 PRC, DPRK, Iran Russia, ISIS
       If common partner
Short call: Sorry it happened. [U/I] in
       Radical Islam. That was it ~ before Xmas
       Mid-Dec day after assassination
       (Xmas day airplane crash USO equiv)
Called w/condolences for crash + that was it
Goal: keep relationship going

Xmas day vacation to Dom Rep 5 days
28th (Tues): Kislyak sends text: Can you call
         Didn’t see text till 29th not checking
29th I’ll call 15-20 min
K asked: Can we set up VTC btwn P + T for 21st
         Conference in Astana : Rus (sent US someone from AMB)
         Turk, Iran, Oppo groups
         My level? No. someone lower
Will get back. But didn’t until this past
   week.
Didn’t decide until this fri-sat to attend
Rus wants lead in ME peace we want Turkey
        Case 1:17-cr-00232-EGS Document 306-7 Filed 10/26/20 Page 6 of 7




       In Nov early or before Thanksgiving
                           [U/I] of future advisor
Met in NY post-election, came to Trump Tower w/
       Jared Kushner
Been to Emb before speaking
       DIA due diligence prep, then saw Ambo @
       Prior Amb. res.
       30-45 min courtesy call
//
Kislyak in NY mtg w/UN Ambo F+JK @ Trump
   Tower

Treasury sanctions still working. Treasury action

He wasn’t aware of mtg, arrived late

// That’s a good reminder
22 Dec UN
Called a bunch [U/I]
Don’t know if called K maybe I did            UK     Egypt, Is, Senegal, France

14 total 5+ x need to abstain

What is your position
No: hey if you do this…
Any votes this way, slow down
No
Egypt didn’t like. nos able to delay 1 day
Appreciate you reminding me that was another comm
         Case 1:17-cr-00232-EGS Document 306-7 Filed 10/26/20 Page 7 of 7




Maybe Thurs-Fri prior to xmas, had been @
 Fl w/ POTUS
 Did from GSA campaign [U/I]

Spoke on 29th
Expectations                               No recollection of that
Surprise

      Still

4 or 5 calls that day? If so, don’t remember. If so, lousy
   place to make phone calls.

Nothing long drawn out don’t do something

NY:      Hope
         John [LNU]
         Dan [LNU] other than me

//
[U/I] classified setting:     Examples
                              Things in play
                              More substantial now than Cold War

Ezra: Someone known introduced themselves to Hicks

Mahar [U/I]
